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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                NEW ALBANY DIVISION

ANTONIA PERKINS,                                 )
                                                 )
       Plaintiff,                                )
                                                 )
       vs.                                       )       No. 4:17-cv-00055-RLY-DML
                                                 )
SYNCHRONY BANK,                                  )
                                                 )
       Defendant.                                )

                                   NOTICE OF SETTLEMENT

       NOW COMES Plaintiff, ANTONIA PERKINS (“Plaintiff”), by and through the

undersigned counsel, and hereby informs the Court that a settlement of the present matter has

been reached and all parties to the present matter are currently in the process of executing the

aforementioned settlement agreement, which Plaintiff anticipates will be completed within the

next 60 days.

       Plaintiff therefore requests that this Honorable Court vacate all dates currently set on

calendar for the present matter.

                                                      Respectfully submitted,


Dated: August 25, 2017                                /s/ Adam T. Hill
                                                      Adam T. Hill
                                                      KROHN & MOSS, LTD.
                                                      10 N. Dearborn St., 3rd Fl.
                                                      Chicago, Illinois 60602
                                                      Telephone: 312-578-9428
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                                                      ahill@consumerlawcenter.com
                                                      Attorney for Plaintiff



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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 25, 2017, I electronically filed the foregoing Notice of

Settlement with the Clerk of the Court by using the CM/ECF System. A copy of said Notice was

submitted to all parties by way of the Court’s CM/ECF System.



                                            By:       /s/ Adam T. Hill
                                                      Adam T. Hill
                                                      Attorney for Plaintiff




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